
Ingraham, J.
I concur with Judge Freedman that the order appealed from should be affirmed. The order does not state that the motion for an extra allowance on the amount of the fee value of the plaintiff’s property was denied on the ground that the court had no power to grant it. The denial is based upon the ground that there had been no recovery of the amount of the value of the fee, and that the value of the subject matter of the judgment for injunction is undeterminate and unsusceptible of liquidation.
There is no denial here of the power of the court to grant an allowance where the value of the subject matter of the judgment for injunction is capable of exact determination but that for some reason not stated, the trial judge was unable to determine it in this action. The determination of the court below as to the amount of allowance to be granted was in the discretion of the court, and I see nothing in the record that requires us to review that determination.
The order appealed from should therefore be affirmed with $10 costs and disbursements.
